           Case
Prob12b (7/93)    3:16-cr-00130-JWD-EWD                Document 115            04/13/20 Page 1 of 2
                     UNITED STATES DISTRICT COURT
                                   for the
                         Middle District of Louisiana
                   REQUEST FOR MODIFYING THE CONDITIONS OR TERM OF
                      SUPERVISION WITH CONSENT OF THE OFFENDER
                                  (Probation Form 49, Waiver of Hearing is Attached)

     Name of Offender:                               Jordan Hamlett

     Name of Sentencing Judicial Officer:            Honorable John W. deGravelles
                                                     U.S. District Judge

     Date of Original Sentence:                      April 25, 2018

     Original Offense:                               False Representation of a Social Security Number,
                                                     42 U.S.C. § 408(a)(7)(B)

     Original Sentence:                              18 months imprisonment,
                                                     Two years supervision to follow

     Type of Supervision:                            Supervised Release

     Asst. U.S. Attorney:                            Alan A. Stevens

     Case Number:                                    16-130-JWD-EWD

     Date Supervision Commenced:                     September 9, 2019

     Defense Attorney:                               Michael Adams Fiser



                                      PETITIONING THE COURT

      [ ]         To extend the term of supervision for ____ years, for a total term of _____ years.
      [X]         To modify the conditions of supervision as follows:
                  The restitution shall be due immediately, but nonpayment is not a violation of supervised
                  release so long as the defendant makes the required monthly payments during supervision.
                  Payment of restitution amount in equal payments of at least $100.00 per month shall begin
                  immediately.

                                                     CAUSE

      On September 9, 2019, Jordan Hamlett was released from the custody of the U.S. Bureau of Prisons.
      Based on a complete review of his financial documents by the U.S. Probation Office and his current
      circumstances, it has been determined he can pay at least $100.00 per month toward his restitution.
      Case 3:16-cr-00130-JWD-EWD               Document 115         04/13/20 Page 2 of 2



REQUEST FOR MODIFYING THE CONDITIONS OR TERM OF SUPERVISION WITH CONSENT OF THE
OFFENDER
Hamlett, Jordan 16-130-JWD-EWD
April 13, 2020
Page 2

                                                                         Executed on April 13, 2020

                                                                             Respectfully submitted,
                                                                                                 by
     Reviewed:

     S
     ______________________________                              C
                                                                 ______________________________
     Erica Hives Johnson                                                      Christopher Martinez
     Supervisory U.S. Probation Officer                                      U.S. Probation Officer




THE COURT ORDERS

       [ ]    No Action
       [ ]    The extension of supervision as noted above.
       [ X]   The modification of conditions as noted above.
       [ ]    Other



                                                             4/13/2020
    S
_______________________________
Honorable John W. deGravelles
                                                      ____________________
                                                             Date
U.S. District Judge
